     Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 1 of 12



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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GULINO, ET AL.,

                  Plaintiffs,                     96 CV 08414 (KMW)
                                                  OPINION AND ORDER
     -against-

BOARD OF EDUCATION, ET AL.,

                  Defendants.

--------------------------------------X
WOOD, U.S.D.J.:

     Plaintiffs, who represent a class of African-American and

Latino teachers in the New York City public school system, allege

that Defendant the New York City Board of Education (the “Board”)

and former Defendant the New York State Education Department (the

“Department”) discriminated against Plaintiffs in violation of

Title VII of the Civil Rights Act of 1964 (“Title VII”), as

amended, 42 U.S.C. § 2000e et seq.      Plaintiffs’ claims against

the Department have been dismissed.      Three entities (“Movants”)

seek to intervene in this action under either Federal Rule of

Civil Procedure (“Rule”) 24(a)(2) or Rule 24(b).

     For the reasons set forth below, the Court DENIES Movants’

motion to intervene, but GRANTS Movants amicus status.




                                   1
      Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 2 of 12



I.   Background

     A.   Parties

           1.   Plaintiffs

     Plaintiffs represent a class of African-American and Latino

New York public school teachers, who either lost their teaching

licenses or were prevented from obtaining full teaching licenses

because they did not pass the Liberal Arts and Sciences Test of

the New York State Teacher Certification Examination (the “LAST”)

or its predecessor, the National Teacher Core Battery Exam (the

“NTE”) (Compl. ¶¶ 64-65.)

           2.   Defendant

     The Board manages the New York City (“City”) public school

system, and is the employer of City public school teachers.

(Compl. ¶ 62.)      To comply with various state regulations, the

Board hires teachers for permanent positions only if they have

met certain state-mandated certification requirements, including

passing the LAST or NTE. (Trial Court Findings of Fact, dated

Sept. 4, 2003, ¶¶ 12-44 [hereinafter “Ct. Findings”].)

           3.   Movants

     The Regents have authority under the New York State

(“State”) Constitution to establish State education policy.

(Mot. at 6.)    In 1981, the Regents instituted a liberal arts and

sciences testing requirement for candidates seeking State

                                    2
       Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 3 of 12



teaching licenses, which led to the development and use of the

LAST and NTE for teacher certification. (Ct. Findings ¶¶ 12-44.)

       The Department is a State agency charged with the general

management and supervision of the State’s public schools.            (Mot.

at 7.)      The Department developed the NTE and LAST, and oversees

the licensing of State public school teachers. (Compl. ¶ 63.)

       The Commissioner is chief executive officer of the

Department. (Ct. Findings ¶ 16.)         The Commissioner promulgated

the regulations that made the NTE and LAST part of the State’s

licensing requirements. (Ct. Findings ¶ 17; Mot. at 7.)

       B.   Procedural History

              1.   Initial district court proceedings

       Plaintiffs brought this class action in 1996, alleging that

the NTE and LAST had a disparate impact on African-American and

Latino teachers.       Plaintiffs alleged that by mandating that

teachers pass the NTE or LAST in order to teach in the City’s

public schools, the Board and the Department discriminated

against Plaintiffs in violation of Title VII.

       In 2003, after a lengthy bench trial, Judge Motley ruled

that Defendants’ use of the NTE and LAST did not violate Title

VII.    Judge Motley held that Plaintiffs had established a prima

facie case of disparate impact.        (Ct. Findings ¶ 160.)     She

found, however, that Defendants had proven that the NTE and LAST

                                     3
     Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 4 of 12



were job-related, a defense to Plaintiffs’ disparate impact

showing.1   (Ct. Findings ¶¶ 161-63.)

            ii.   Second Circuit proceedings

     Plaintiffs appealed Judge Motley’s decision to the Second

Circuit.    The Circuit agreed with Judge Motley that the NTE was

properly validated and job-related.      The Circuit held, however,

that Judge Motley had applied the wrong legal standard when she

determined that the LAST was job-related.2       Gulino v. New York

     1
        An employment test that has a disparate impact is invalid
under Title VII unless the defendant can prove that the test is
“job-related.” A test is job-related if it has been properly
validated. Validation requires showing “by professionally
acceptable methods, [that the test is] predictive of or
significantly correlated with important elements of work behavior
which compromise or are relevant to the job or jobs for which
candidates are being evaluated.” Gulino v. N.Y. State Educ.
Dept., 460 F.3d 361, 383 (2d Cir. 2006) (internal quotations and
citations omitted).

     2
        The Second Circuit has articulated a five-part test for
determining whether an employment test has been properly
validated and thus is job-related: (1) The test-makers must have
conducted a suitable job analysis; (2) they must have used
reasonable competence in constructing the test itself; (3) the
content of the test must be related to the content of the job;
(4) the content of the test must be representative of the content
of the job; and (5) there must be a scoring system that usefully
selects those applicants who can better perform the job. See
Gulino, 460 F.3d at 384.

     Judge Motley determined that the NTE was job-related under
the Second Circuit’s test. For various reasons, however, she
applied a different test to determine the LAST’s job-relatedness.
The Second Circuit ruled that Judge Motley also should have
applied the Circuit’s five-part test to the LAST. See Id. at
388.

                                   4
     Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 5 of 12



State Educ. Dept., 460 F.3d 361, 385 (2d Cir. 2006).         The Circuit

vacated Judge Motley’s ruling with respect to the LAST, and

remanded the case, instructing the District Court to determine

whether the LAST was job-related under the standard articulated

in the Circuit’s opinion.     Id. at 388.

     The Circuit also found that the Department was not an

“employer” for the purposes of Title VII, and thus could not be

liable for its development and use of the NTE and LAST.         Id. at

379-80.   The Circuit ordered the District Court to dismiss all

claims against the Department.     Id. at 379.

     C.   Current Procedural Posture

     With the claims against it dismissed, the Department, along

with the Regents and Commissioner, seek to intervene in this

action either as of right under Rule 24(a)(2), or through

permissive intervention under Rule 24(b).       In their motion,

Movants seek a declaratory judgment from the Court that: (1) the

LAST is effected pursuant to the State’s licensing authority and

police powers, and so is not subject to challenge under Title

VII; (2) the Board is required to comply with the State’s

licensing procedures and Plaintiffs cannot challenge a state

licensing requirement by bringing a Title VII action against an

employer bound to follow state law; and (3) to the extent the

LAST is subject to Title VII challenge, it is job-related.

                                   5
       Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 6 of 12



       Plaintiffs object to Movants’ motion.

       For the reasons set forth below, the Court DENIES Movants’

motion.       The Court GRANTS Movants the right to participate in the

action as amici curiae.

III.       Analysis

       The Court finds that: (1) Movants’ motion raises two issues

already conclusively decided by the Second Circuit, which the

Court cannot reconsider on remand; (2) Movants are not entitled

to intervene as a matter of right under Rule 24(a)(2); and (3)

Movants are not entitled to intervene by permission under Rule

24(b).

       A.    Issues Already Decided by the Second Circuit

       Movants’ motion improperly seeks declaratory judgment from

this Court on two issues that the Second Circuit conclusively

decided on appeal: (1) whether the LAST can be challenged under

Title VII even though it was adopted pursuant to the State’s

licensing authority (the Second Circuit answered “yes”)3; and (2)

whether the Board is protected from Title VII liability because

it was following the mandates of state law (the Second Circuit


       3
       In its opinion, the Circuit stated that the Department was
acting pursuant to its traditional police powers when it
developed and used the LAST for teacher certification. See
Gulino, 460 F.3d at 378. The Circuit held, however, that the
LAST still could be challenged through a Title VII suit against
the Board, Plaintiffs’ employer. See Id. at 381.

                                     6
     Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 7 of 12



answered “no”)4.    The Court cannot reconsider on remand issues

already decided by the Second Circuit.       The Court DENIES Movants’

motion to intervene for a declaratory judgment on these issues.5

     B.   Issues Not Yet Decided by the Second Circuit

     The Second Circuit has not yet decided whether the Board can

be held liable under Title VII for its requiring teachers to pass

the LAST.    The issue that has been remanded to this Court is

whether the LAST is job-related.       For the reasons set forth

below, the Court finds that Movants cannot intervene under either

Rule 24(a)(2) or Rule 24(b) for a declaratory judgment on this

question.

     C.   Intervention as of right under Rule 24(a)(2)

            1.   Legal standard

     To intervene as of right, an intervenor must (1) file a

timely application, (2) show that it has a “direct, substantial,

and legally protectable” in the action, (3) demonstrate that the

interest may be impaired by the disposition of the action, and

     4
       In the original District Court proceedings, Judge Motley
held that the “mandates of state law” do not shield BOE from
Title VII liability. On appeal, the Second Circuit agreed with
Judge Motley and stated that the BOE could be liable under Title
VII, despite the fact that state law mandated it to use the LAST
in hiring decisions. See Gulino, 460 F.3d at 380.
     5
      The Court makes this determination first so that it can
properly analyze the nature and scope of Movants’ motion and
interests when deciding whether to grant intervention under Rule
24(a)(2) or Rule 24(b).

                                   7
     Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 8 of 12



(4) show that the interest is not adequately protected by

existing parties to the action.      Brennan v. N.Y. City Bd. of

Educ., 260 F.3d 123, 130-32 (2d Cir. 2001); Wash. Elec. Coop. V.

Mass. Mun. Wholesale Elec. Co., 922 F.2d 92, 96-97 (2d Cir.

1990).

     Adequate representation by existing parties is presumed when

a potential intervenor and an existing party share the same

“ultimate objective” in the litigation.       Butler, Fitzgerald &

Potter v. Sequa Corp., 250 F.3d 171, 179 (2d Cir. 2001).         A party

seeking intervention can rebut the presumption of adequate

representation by showing “collusion, adversity of interest,

nonfeasance, or incompetence” by existing parties.        Id. at 180.

A potential intervenor cannot defeat the adequacy presumption

simply by showing that he has a different motive to litigate than

existing parties.   Natural Resources Def. Council, Inc. v. N.Y.

State Dep’t of Envtl. Conservation, 834 F.2d 60, 62 (2d Cir.

1987); U.S. v. N.Y. State Bd. of Elections, No. 07-cv-4211, 2008

WL 1752217, at *2 (2d Cir. Apr. 15, 2008) (holding that existing

party would adequately represent potential intervenor, even

though the two entities had different motives for litigating,

because a ruling in favor of the existing party would fully

protect the potential intervenors’ interests).




                                   8
        Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 9 of 12



             2.   Application

     Movants meet the first three prongs of the Rule 24(a)(2)

test.     First, Movants filed their motion just one month after the

case was reassigned within the District Court, so it is timely.

Second, Movants have a “direct, substantial, and legally

protected” interest in the LAST’s validity.          Movants have

constitutional and statutory authority to regulate the State

public school system, including by implementing teacher

certification requirements.        The LAST is an integral part of

Movants’ licensing requirements, and Movants expended substantial

time and resources developing it.         Finally, Movants’ interest

could be impaired by disposition of the action.           A finding that

the LAST is not job-related will invalidate Movants’ licensing

scheme and force them to develop a new test.

     Despite their interest in the LAST’s validity, Movants do

not have a right to intervene, because Movants fail to establish

that their interests in the action will be inadequately protected

by existing parties.       Movants and the Board have the same

“ultimate objective” in the litigation because both want the

Court to rule in favor of the Board by finding that the LAST is

job-related.      Such a ruling would fully protect Movants’

interests because it would validate Movants’ licensing procedures

and allow them to continue using the LAST.          The Court thus

                                      9
    Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 10 of 12



presumes that the Board will adequately represent Movants in the

action.   Movants fail to rebut this presumption.

     Movants do not show “collusion, adversity of interest,

nonfeasance, or incompetence” on the part of the Board.         Movants

do have somewhat broader motives for litigating than the Board.

Movants seek not only to absolve the Board of liability, but also

to protect their investment in the LAST and the integrity of

their licensing procedures.       An existing party’s representation

is not inadequate, however, “merely because its motive to

litigate is different” from that of the potential intervenor.

Washington Elec., 922 F.2d at 98.

     Movants have not rebutted the presumption that the Board

will adequately represent them in the ligitation.        The Court

DENIES Movants’ motion to intervene as of right under Rule

24(a)(2).

     C.   Permissive Intervention under Rule 24(b)

            1.   Legal standard

     The Court has broad discretion to decide whether to grant

permissive intervention under Rule 24(b).       United States v.

Pitney Bowes, Inc., 25 F.3d 66, 73 (2d Cir. 1994) (“Reversal of a

district court’s denial of permissive intervention is a very rare

bird indeed, so seldom seen as to be considered unique.”).         In

making its determination, the Court considers the same factors it

                                    10
    Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 11 of 12



considers for intervention as of right, as well as (1) whether

the potential intervenors will benefit from intervention; (2)

whether the potential intervenors will contribute to the

development of the underlying factual issues in the action; and

(3) whether intervention will unduly delay or prejudice the

adjudication of existing parties’ rights. Fed. R. Civ. P. 24(b);

In re Bank of N.Y. Derivative Litig., 320 F.3d 291, 300 n.5 (2d

Cir. 2003); U.S. Postal Serv. v. Brennan, 579 F.2d 188, 191-92

(2d Cir. 1978).

          2.   Application

     The Court will not grant permissive intervention to Movants.

The Court has already found that the Board will adequately

represent Movants in the action; thus Movants will not

necessarily benefit from intervention.

     To the extent that Movants may be able to contribute to

development of the litigation’s factual record, they may do so as

amicus curiae.    Granting Movants amicus status will ensure that

the Court benefits from any additional information Movants may

have, while avoiding the duplicative and unnecessary litigation

that would arise if the Court permitted Movants to file a

separate motion for a declaratory judgment on whether the LAST is

job-related.

     The Court DENIES Movants’ motion for permissive intervention

                                  11
Case 1:96-cv-08414-KMW Document 237 Filed 09/17/09 Page 12 of 12
